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 9
                                  UNITED STATES DISTRICT COURT
10
                                         Eastern District of Washington
11
12    RICCI PARK,                                           Case No.

13                           Plaintiff
                                                            COMPLAINT
14           v.                                             FEDERAL EMPLOYERS LIABILITY ACT
                                                            (45 USC §51)
15    BNSF RAILWAY COMPANY, a Delaware
      corporation,                                          DEMAND FOR JURY TRIAL
16                           Defendant
17
18
19          Plaintiff alleges:

20                                                     1.

21          This court has jurisdiction over this action under 45 USC § 56, 29 USC § 1331, and 28

22   USC § 1367 for her claims.

23                                                     2.

24          At all material times, Defendant (hereinafter "BNSF") was a Delaware corporation doing

25   business in Washington.

26   ////



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 1                                                    3.
 2          At all material times Plaintiff was an employed by Defendant as a control operator in
 3   interstate commerce.
 4                                                    4.
 5          On October 11, 2020 plaintiff was working as a control operator for Defendant near
 6   Pasco, Washington when an office chair Plaintiff was required to use by Defendant collapsed
 7   beneath her, causing Plaintiff to strike her head on the floor and sustain a brain injury.
 8                                                    5.
 9          Plaintiff's injuries were due in whole or in part to the acts and omissions of BNSF, which
10   were negligent in one or more of the following particulars:
11          a.      Defendant required Plaintiff to use a chair that was not in good repair and safe
12                  working condition;
13          b.      Defendant failed to warn Plaintiff of the danger posed by the office chair it
14                  required Plaintiff to use;
15          c.      Defendant failed to maintain its office equipment, including chairs for employees,
16                  in good repair and safe working condition; and
17          d.      Defendant failed to replace the unsafe office chair it required Plaintiff to use.
18                                                    6.
19          As a result of the negligence of BNSF, Plaintiff has suffered a permanent brain injury,
20   pain, sadness, and worry, all to her non-economic damage in the amount of $3,000,000. As a
21   further result of BNSF's negligence, plaintiff has lost wages in the approximate amount of
22   $65,000, will continue to suffer lost wages and benefits in an amount to be proven at trial but is
23   presently estimated at $975,000, and will suffer losses to her railroad retirement annuity
24   estimated at $300,000. Plaintiff has incurred reasonable and necessary medical expenses of
25   $40,000, and will continue to incur medical expenses of approximately $15,000 per year for an
26   approximate total of $285,000.


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 1          WHEREFORE, Plaintiff prays for judgment against Defendant for economic damages in
 2   the amount of $1,665,000, for her non-economic damages of $3,000,000, and for her costs and
 3   disbursements incurred herein and for such other relief as the Court may deem equitable and just.
 4          Dated this 9th day of December, 2021.
 5                                               ROSE, SENDERS & BOVARNICK, LLC
 6
 7                                               By:      s/ Paul S. Bovarnick
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                                                 AND
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                                                 Attorneys for Plaintiff
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